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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                     CASE NO. 21-CV-61654-WPD

   MAHMOUD CHARR,

          Plaintiff,

   v.

   DON KING, individually,
   DON KING PRODUCTIONS, INC., a
   foreign corporation,
   EPIC SPORTS AND ENTERTAINMENT,
   INC., a Florida corporation,
   WORLD BOXING ASSOCIATION, INC., a
   foreign corporation, and
   GILBERTO MENDOZA, JR., individually,

          Defendants.
                                                  /

   ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR ENLARGEMENT
   OF TIME TO SERVE AMENDED COMPLAINT ON DEFENDANT WORLD BOXING
                       ASSOCIATION, INC. (“WBA”)

         THIS CAUSE comes before the Court on Plaintiff’s Unopposed Motion for Enlargement

  of Time to Serve Amended Complaint on Defendant World Boxing Association, Inc. [DE 65].

  Based upon a review of the record and having considered the relevant factors, it is hereby

         ORDERED AND ADJUDGED that the Motion [DE 65] is GRANTED, and Plaintiff has

  until November 27, 2022, to effectuate service of the Amended Complaint on Defendant, World

  Boxing Association, Inc., and to otherwise file proof of service by or before said date.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida, this

  8th day of November, 2022.
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  Copies furnished to:

  All counsel of record
